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                                                      •U.S. DjSTR^T COURT
                             UNITED STATES DISTRICT COUfilf       OF HH
                              DISTRICT OF NEW HAMPSB^^p^ ,5                         ,3^ 3^

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        JOHN DOE,


                       Plaintiff,
             V.                                                     Civil Action No.
                                                                    1:19-cv-OO109-SM
TRUSTEES OF DARTMOUTH COLLEGE,

                    Defendant,




                    PLAINTIFF'S MOTION TO OBTAIN ECF ACCESS


        Plaintiffflies this motion in order to request access to the New Hampshire Electronic

Court Filing system. Plaintiff was previously assigned an ECF login and password by this court,
and asks that he be granted permission to file documents in this case using those credentials, or
assigned a new login and peissword for an account that can be used to file documents in this case.

On 4/11/2019, Jennifer Lawrence of Dartmouth's counsel assented to this motion.




Date:      4/12/20L9                                                          Respectfully submitted.

                                                                                             John Doe




                                                Signature:_     \JdL
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                               CERTIFICATE OF SERVICE



I hereby certify that a copy ofthe following document was sent electronically to Dana Scaduto of
Dartmouth General Counsel, at the following address provided by the defendant, on 4/12/2019;

Dana.Scaduto@,dartmouth.edu.




Date:     4/12/2019                                                    John Doe



                                              Signature:
